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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                        CASE NO. 13CR2937 WQH

                        Plainti
                vs.                              JUDGMENT OF DISMISSAL
ADAN GONZALEZ RAMOS,

                        Defendant.


          IT APPEARING that the defendant                 now entitled to be discharged
for the reason that:

    an indictment has been filed in another case aga   t the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Information:

     21·841 (a) (1)   and 846 -   IlnlalA/flll   Possession of a    Controlled Sllhstance

     and Conspiracy to Distribute Heroin and Methamphetamine.

           IT IS THEREFORE ADJUDGED that                                         discharged.


DATED: 9/12/13


                                                  U.S. Magistrate Judge
